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                     1   ALAN R. SMITH, ESQ.
                         Nevada Bar No. 1449
                     2   HOLLY E. ESTES, ESQ.
                         Nevada Bar No. 11797
                     3   Law Offices of Alan R. Smith
                         505 Ridge Street                                                    ELECTRONICALLY FILED
                     4   Reno, Nevada 89501                                                     August 18, 2014
                         Telephone (775) 786-4579
                     5   Facsimile (775) 786-3066
                         Email: mail@asmithlaw.com
                     6
                         Attorney for Debtors/Defendants
                     7   ANTHONY THOMAS and WENDI
                         THOMAS
                     8
                     9                                  UNITED STATES BANKRUPTCY COURT
                 10                                                  DISTRICT OF NEVADA
                 11                                                             —ooOoo—
                 12      In Re:                                                     Case No. BK-N-14-50333-BTB
                                                                                    Case No. BK-N-14-50331-BTB
                 13      ANTHONY THOMAS and
                         WENDI THOMAS,                                              Chapter 11 Cases
                 14
                                                                                    [Jointly Administered]
                 15      AT EMERALD, LLC,
                 16
                 17
                                    Debtors,
                 18      ______________________________/
                                                                                    Adv. Pro. No. 14-05022
                 19      KENMARK VENTURES, LLC,
                 20                         Plaintiff,                              DECLARATION OF ALAN R. SMITH
                                                                                    IN SUPPORT OF EX PARTE MOTION
                 21      vs.                                                        FOR ORDER SHORTENING TIME
                                                                                    FOR NOTICE AND HEARING ON
                 22      ANTHONY THOMAS and WENDI                                   MOTION TO WITHDRAW AS
                         THOMAS,                                                    ATTORNEY OF RECORD
                 23
                                            Defendants.
                 24                                                                 Hearing Date: OST Pending
                                                                                    Hearing Time: OST Pending
                 25      ______________________________/
                 26               I, ALAN R. SMITH, hereby declare under penalty of perjury that the following
                 27      assertions are true:
                 28               1. I am the court appointed general counsel for the Debtors in the above-captioned Chapter
  Law Offices of
 ALAN R. SMITH
 505 Ridge Street
Reno, Nevada 89501
 (775) 786-4579          H:\Thomas\Mot WD\Decl ARS MOST Mot WD 081814-dlg.wpd
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                     1   11 cases. I have personal knowledge of the facts herein stated, and if called to testify as to such facts
                     2   I would and could do so competently.
                     3            2.    I have caused to be filed today an Ex Parte Motion For Order Shortening Time
                     4   For Notice and Hearing on Motion To Withdraw As Attorney Of Record.
                     5            3.     Pursuant to the Motion To Withdraw As Attorney Of Record, the Debtors have
                     6   failed substantially to fulfill various obligations to me as specified in the agreement between us.
                     7   Specifically, Debtors have refused to communicate timely and effectively with my office. Further,
                     8   the Debtors and myself have come to an impasse regarding certain aspects of my representation that
                     9   I believe cannot be overcome. I believe that because of the difference in opinion as how best to
                 10      proceed in this case, I can no longer effectively represent the Debtors. As a result an adversarial
                 11      relationship has developed, and I have sought withdrawal. I have requested that my motion to
                 12      withdrawal be heard on the same date and time as the motion to appoint chapter 11 trustee, August
                 13      22, 2014 at 2:00 p.m. Ordinary notice requirements cannot be met without an order shortening time
                 14      for a hearing to approve the immediate withdrawal from these cases.
                 15               DATED this 18th day of August, 2014.
                 16
                                                                                By:     /s/ Alan R. Smith
                 17                                                               ALAN R. SMITH, ESQ.
                                                                                  Attorney for Debtors
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                     1                                            CERTIFICATE OF MAILING
                     2            Pursuant to FRCP 5(b), I hereby certify that I am an employee of the Law Offices of Alan
                     3   R. Smith, and that on this day I deposited for mailing at Reno, Nevada, and sent via email, a true and
                     4   correct copy of the attached document addressed as follows:
                     5            AT Emerald, LLC
                                  c/o Anthony & Wendi Thomas
                     6            7725 Peavine Peak Court
                                  Reno, NV 89523
                     7            atemerald2@gmail.com
                                  wendithomas6@gmail.com
                     8
                                  Timothy A. Lukas, Esq.
                     9            Holland & Hart, LLP
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                 10               Reno, NV 89511
                                  tlukas@hollandhart.com
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                 12               Darby Law Practice, Ltd.
                                  4777 Caughlin Parkway
                 13               Reno, NV 89519
                                  kevin@darbylawpractice.com
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                                  Stefanie T. Sharp, Esq.
                 15               Robison, Balaustegui, Sharp & Low
                                  71 Washington Street
                 16               Reno, NV 89503
                                  ssharp@rbsllaw.com
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                                  Wayne A. Silver, Esq.
                 18               333 W. El Camino Real, Ste. 310
                                  Sunnyvale, CA 94087
                 19               w_silver@sbcglobal.net
                 20               Amy N. Tirre, Esq.
                                  Law Offices of Amy N. Tirre, APC
                 21               3715 Lakeside Dr., Ste. A
                                  Reno, NV 89509
                 22               amy@amyttirrelaw.com
                 23               Joseph G. Went, Esq.
                                  Holland & Hart, LLP
                 24               9555 Hillwood Drive, 2nd Floor
                                  Las Vegas, NV 89134
                 25               jgwent@hollandhart.com
                                                                               /s/ Debra L. Goss
                 26      Dated: August 18, 2014                          By:_______________________________________
                                                                                      Debra L. Goss, Employee
                 27
                 28
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